                        Case 3:13-cr-00184-MAS                                   Document 54                   Filed 09/11/12                          Page 1 of 1 PageID: 128
         4CJA 20 APPOINTMENT Of AND AIJTHORIIY TO PAY COURT APPOINTED COUNSEL (Rev 599
     I       CIR 01SF         Dlv CODE           2. PERSON REPRESENTED                                                                           VOUCHER NUMBER
                                                      ANThONY DIMATTEO
  3 MAO DKT DEE Nt MBER                                     4 DIST DKT DEE NUMBER                               5        kPPEALS DKT. DEE Nt MBER                    6    OFRER DKT NUMBER
                             1 2-25743( DEA)
  -
             iN CASE MATTER OF ( a .\aenj                   S    1VMENF CATEGORY                               9. T\EE PERSON REPRESENTED                            10    REPRESENTATION TYPE
                                                             —Felon)                           Petr Offense    AduIt De0.ndant       E Arpellant                            ‘-
                                                                                                                                                                                 in1Pud
                  LiSA V GIORGIANNI, et al.,                     Misdemeanor                   Other                 JueniIe Defendant                LI Appellee           CC
                                                                 Appeal                                              Other
     I I ()FFENSE S CHARGED Cite F S. Lode. F!tle & Sectiti) It                     .
                                                                                        than              it up i iii ma,‘t t1c’e iiarg.d. i i/ing ‘,
             2 1 :846   -   CONSPIRACY FO DIS FR1B[E CONTR()LLE.D SUBSTANCE

  1 AnORNEY’S NAME Iirsi CnnL iJ last .\ain iiicludwga,n suifzt)                                              13OURT ORDER
    AND MAIliNG ADDRESS                                                                                       49lAppointing Counsel                                       C Co-Counsel
                                                                                                                F Subs For Federal Defender                               R Subs For Retained Attorney
                            Edward Washburne. Esq.                                                              P Subs For Panel Attorney                                 Y Standby Counsel
                        229 Broad Street                                                                                         ,
                            Red Bank, NJ 0’70I                                                                Prior ttomeys Name
                                                                                                                  Appointment Dates:
                                                                                                                j3ecause the aboe-narned person represented has testtfied under oath or has otherwise
         Telephone Number                                       732-74 1 -668 1                               satisfied this Court that he or she ( 1 ) is tinancially unable to employ counsel and (2) does not
                                                                                                              wish to warse counsel, and because the interests ofJustice so require, the attorney whose
 I NAME AND MAILING ADDRESS OF LAW FIRM Unlr pravtde per insiriwtions)                                        name appears in Item 12 is appointed to represent this person in this case. OR
                                                                                                               S Other See [list nn,IiulpJ


                                                                                                                                 Signat of iding Judicial Officer or By Order of the Court

                                                                                                                             q       Date of Order                                    Nunc Pro Tune Date
                                                                                                              Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                              appointment          LI YES        NO
         ,                         CLAIM FOR SERVICES AND EXPENSES                                                                                           FOR COURT USE ONLY
                                                                                                  HOURS                     tOTAL                MATH TECH.              MATHiTECH
               CATEGORIES (lttoch iternizotion of sers’ites with dotes)                                                   AMOUNT                     ADJUSTED
                                                                                                                                                                                                 ADDITIONAL
                                                                                                 CLAIMED                                                                  ADJUSTED
                                                                                                                          CLAIMED                                                                  REVIEW
                                                                                                                                                      HOURS               AMOUNT
 15.           a. Arraiunrnent and or Plea
               b. Bail and Detention Hearings
               c. Motion Hearings
               d. trial
               e. Sentencing Hearings
               f. Revocation Hearings
               g Appeals Court
               h. Other fSperify on additional sheets)
               (RATE PER HOUR = S                                  I    TOTALS:
 16.           a,Interviexss and Conferences
               b. Obtaining and reviewing records                                                                   ,,




               c. Legal research and brief riting
               d. Trtseltinie
               c In estigative and other vork Opecifi’ on additional s/leert,)
               (RATE PER HOUR = $                                 3     TOTALS:
17.           Travel Expenses dodging, parking, in cola, mileage. etc.)
18.           Other Expenses (other i/ian expert. iranscriprs. etc.)
GRAND TOTAlS (CLAIMED AND ADJUSTED)
19. CFRT’IEICATION OF ATTORNEY PAYEE FOR THE PERIOD OF SERVICE
                                                                                                                20. APPOINEMENT TERMINATION DATE                                 21    CASE DISPOSITION
                                                                                                                    IF OTHER THAN CASE COMPLETION
                                                                 f 0:
22 CLAIM STATUS                           U Final Payment              U Interim Payment Number                                             U Supplemental Payment
             Haxe you previously applied to the court for compensation and/or ieimbursement for this        U YES       U NO           If yes, were you paid’     U YES        U NO
             Other than from the Court, haxe you, or to your knowledge has any one else. receix ed pay ment dampens a/ion
                                                                                                                          or anything of s’alue, from any other source in connection with this
             representation?      U YES        U NO         tfes. gtse details oti additional sheets.
             I swear or affirm the truth or correctness of the abose statements.
             Signature of Attomey
                                                                                                                                                          Date

                                                                  APPROVED FOR PAYMENT                          —         COURT USE ONLY
23 IN’ COURT COMP.                             24. OUT OF COURT COMP.             25. TRAVEL EXPENSES                     26. OTHER EXPENSES                        2. TOTAL AMT APPR. CERT

28           SIGNATURE OF THE PRESIDING JUDICIAF OFFIC ER                                                                 DATE                                      28a, JUDGE MAG. JUDGE CODE

29           IN COURT COMP.                    30 OUT OF COURT COMP.              31.1’ RAVEL EXPENSES                    32. OtHER EXPENSES                        33. TOTAL AMT APPROVED

34           SIGNAl URE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Pa’mnt approe.d
                                                                                                                          DATE                                      34a JUDGE CODE
             in exce s of (/ie ciatutort ihre/iold amount.
